                Case 16-10527-MFW              Doc 4266        Filed 09/26/18        Page 1 of 10



                               UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

In re:                                                       Chapter 11

TSAWD HOLDINGS, INC., et al.,1                               Case No. 16-10527 (MFW)

                            Debtors.                         (Jointly Administered)

                                                             Hearing Date: October 25, 2018 at 2:00 p.m. (ET)

    FEE EXAMINER’S CONSOLIDATED FINAL REPORT REGARDING NINTH
INTERIM QUARTERLY FEE REQUESTS OF (I) GIBSON, DUNN & CRUTCHER LLP
         [DKT NOS. 4250, 4261]; (II) YOUNG CONAWAY STARGATT &
  TAYLOR, LLP [DKT. NOS. 4250, 4251]; AND (III) BDO USA, LLP [DKT. NO. 4258]

          Elise S. Frejka, the fee examiner (the “Fee Examiner”) in the above-captioned cases

submits this consolidated final report (the “Final Report”) pursuant to the order authorizing the

Fee Examiner’s appointment [Dkt. No. 2204] in connection with the applications for allowance

of compensation for professional services rendered and for reimbursement of actual and

necessary expenses (each, a “Fee Application,” and together, the “Fee Applications”) of (i)

Gibson, Dunn & Crutcher LLP [Dkt. Nos. 4250, 4261] (“Gibson Dunn”); (ii) Young Conaway

Stargatt & Taylor, LLP [Dkt. Nos. 4250, 4251] (“YCS&T”); and (iii) BDO USA, LLP [Dkt. No.

4258] (“BDO”) (“BDO,” and together with Gibson Dunn and YCS&T, the “Retained

Professionals”).

                                                   Background

          1.       On March 2, 2016 (the “Petition Date”) Sports Authority Holdings, Inc. and

certain of its affiliates (the “Debtors”) filed voluntary petitions for relief under chapter 11 of title

1
    The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: TSAWD
    Holdings, Inc. (9008); Slap Shot Holdings, Corp. (8209); TSAWD, Inc. (2802); TSA Stores, Inc. (1120); TSA
    Gift Card, Inc. (1918); TSA Ponce, Inc. (4817); and TSA Caribe, Inc. (5664). The headquarters for the above-
    captioned Debtors is located at 2305 East Arapahoe Road, Suite 234, Centennial, CO 80122.
    The Debtors were formerly known as: Sports Authority Holdings, Inc. (9008); Slap Shot Holdings, Corp. (8209);
    The Sports Authority, Inc. (2802); TSA Stores, Inc. (1120); TSA Gift Card, Inc. (1918); TSA Ponce, Inc. (4817);
    and TSA Caribe, Inc. (5664).
            Case 16-10527-MFW           Doc 4266      Filed 09/26/18     Page 2 of 10



11 United States Code, as amended (the “Bankruptcy Code”). The Debtors are operating their

businesses and managing their properties as debtors in possession pursuant to sections 1107 and

1108 of the Bankruptcy Code. No trustee or examiner has been appointed in these cases.

       2.      On June 15, 2016, after recognizing the size and complexity of the above-

captioned cases, the Bankruptcy Court entered the Order Appointing Fee Examiner and

Establishing Procedures for Consideration of Requested Fee Compensation and Reimbursement

of Expenses [Dkt. No. 2204] (the “Appointment Order”).

       3.      Under paragraph 5 of the Appointment Order, the Fee Examiner was charged by

the Court with, among other things: (a) reviewing the Interim Fee Applications and Final Fee

Applications filed by each applicant in these chapter 11 cases, along with the fee detail related

thereto, (b) reviewing any relevant documents filed in these chapter 11 cases to be generally

familiar with these chapter 11 cases and the dockets, (c) within 21 days after the filing of an

Interim Fee Application or Final Fee Application, serving an initial report on the applicant

addressing whether the requested fees, disbursements and expenses are in compliance with the

applicable standards of sections 330 of the Bankruptcy Code and Local Rule 2016-2, and

whether the application has made a reasonable effort to comply with the U.S. Trustee’s requests

for information and additional disclosures as set forth in the Guidelines for Reviewing

Applications for Compensation and Reimbursement of Expenses Filed under 11 U.S.C. § 330 by

Attorneys in Large Chapter 11 Cases Effective as of November 1, 2013, (d) engaging in written

communication with each applicant, the objective of which is to resolve matters raised in the

initial report and endeavor to reach consensual resolution with each applicant with respect to the

applicant’s requested fees and expenses, and (e) following communications between the Fee

Examiner and the applicant, and the Fee Examiner’s review of any supplemental information




                                                 2
            Case 16-10527-MFW           Doc 4266      Filed 09/26/18     Page 3 of 10



provided by such applicant in response to the initial report, conclude the information resolution

period by filing with the Court a final report with respect to each application within 14 days after

service of the initial report. Per the Appointment Order, the final report shall be in a format

designed to quantify and present factual data relevant to whether the requested fees and expenses

of each applicant are in compliance with the applicable standards of sections 330 of the

Bankruptcy Code and Del. Bankr. L.R. 2016-2, and whether the application has made a

reasonable effort to comply with the UST Guidelines. The final report shall also inform the

Court of all proposed consensual resolutions of the fee and/or expense reimbursement request for

each applicant and the basis for such proposed consensual resolution.

       4.      In accordance with the Appointment Order, the Fee Examiner reviewed the Fee

Applications for compliance with Sections 330 and 331 of the Bankruptcy Code, the Federal

Rules of Bankruptcy Procedure, the Local Rules of Bankruptcy Practice and Procedure of the

United States Bankruptcy Court for the District of Delaware, the Order Establishing Procedures

for Interim Compensation and Reimbursement of Expenses for Professionals [Dkt. No. 806], the

Guidelines for Reviewing Applications for Compensation and Reimbursement of Expenses Filed

Under 11 U.S.C. § 330, at 28 C.F.R. Part 58, Appendix A, and the Guidelines for Reviewing

Applications for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330 by

Attorneys in Larger Chapter 11 Cases, effective as of November 1, 2013, at 28 C.F.R. Part 58,

Appendix B (together, the “UST Guidelines”). In addition, the Fee Examiner reviewed the Fee

Applications for general compliance with legal precedent established by the District Court and

Bankruptcy Court for the District of Delaware, the Third Circuit Court of Appeals, and other

applicable precedent.




                                                 3
     Case 16-10527-MFW          Doc 4266      Filed 09/26/18       Page 4 of 10



                          Governing Statutory Sections

5.     Section 330 of the Bankruptcy Code provides:

(a)(1) After notice to the parties in interest and the United States Trustee and a hearing,
and subject to sections 326, 328, and 329, the court may award to a trustee, a consumer
privacy ombudsman appointed under section 332, an examiner, an ombudsman appointed
under section 333, or a professional person employed under section 327 or 1103—
               (A) reasonable compensation for actual, necessary services rendered by the
                   trustee, examiner, ombudsman, professional person, or attorney and by
                   any paraprofessional person employed by any such person; and
               (B) reimbursement for actual, necessary expenses.
(2) The court may, on its own motion or on the motion of the United States Trustee, the
United States Trustee for the District or Region, the trustee for the estate, or any other
party in interest, award compensation that is less than the amount of compensation that is
requested.
(3) In determining the amount of reasonable compensation to be awarded to an examiner,
trustee under chapter 11, or professional person, the court shall consider the nature, the
extent, and the value of such services, taking into account all relevant factors,
including—
       (A) the time spent on such services;
       (B) the rates charged for such services;
       (C) whether the services were necessary to the administration of, or beneficial at
       the time at which the service was rendered toward the completion of, a case under
       this title;
       (D) whether the services were performed within a reasonable amount of time
       commensurate with the complexity, importance, and nature of the problem, issue,
       or task addressed;
       (E) with respect to a professional person, whether the person is board certified or
       otherwise has demonstrated skill and experience in the bankruptcy field; and
       (F) whether the compensation is reasonable based on the customary compensation
       charged by comparably skilled practitioners in cases other than cases under this
       title.
(4)(A) Except as provided in subparagraph (B), the court shall not allow compensation
for—
       (i) unnecessary duplication of services; or
       (ii) services that were not—
               (I) reasonably likely to benefit the debtor’s estate; or
               (II) necessary to the administration of the case.



                                          4
               Case 16-10527-MFW         Doc 4266      Filed 09/26/18     Page 5 of 10



       (5) The court shall reduce the amount of compensation awarded under this section by the
       amount of any interim compensation awarded under section 331, and, if the amount of
       such interim compensation exceeds the amount of compensation awarded under this
       section, may order the return of the excess to the estate.
       (6) Any compensation awarded for the preparation of a fee application shall be based on
       the level and skill reasonably required to prepare the application.

11 U.S.C. § 330.

       6.       Section 330 of the Bankruptcy Code allows a bankruptcy court to award

“reasonable compensation for actual, necessary services rendered by … professional[s].” 11

U.S.C. § 330(a)(1)(A). Reasonable compensation under section 330 is based on the nature,

extent and value of the services, taking into account “all relevant factors . . . .” See 11 U.S.C.

§ 330(a)(3).

       7.       The statute enumerates six (6) relevant factors that the court must consider to

determine whether the fees are reasonable:

                •   The time spent on such services;
                •   The rates charged for such services;
                •   Whether the services were necessary to the administration of, or beneficial at
                    the time at which the service was rendered toward the completion of the cases;
                •   Whether the services were performed within a reasonable amount of time
                    commensurate with the complexity, importance and nature of the problem,
                    issue or task addressed;
                •   With respect to a professional person, whether the person is board certified or
                    otherwise has demonstrated skill and experience in the bankruptcy field; and
                •   Whether the compensation is reasonable based on the customary
                    compensation charged by comparably skilled practitioners in non-bankruptcy
                    cases.
11 U.S.C. § 330(a)(3)(A)-(F).

       8.       Although the statute does specifically list factors to review when determining the

reasonableness of fees, the list itself is not exhaustive. See 11 U.S.C. § 102(3) (terms “includes”

and “including” are not limiting). Thus, the Court is “itself an expert on the question [of



                                                  5
             Case 16-10527-MFW         Doc 4266      Filed 09/26/18     Page 6 of 10



attorney’s fees] and may consider its own knowledge and experience concerning reasonable and

proper fees and may form an independent judgment either with or without the aid of testimony of

witnesses as to value.” See Campbell v. Green, 112 F.2d 143, 144 (5th Cir. 1940).

       9.      A fee applicant bears the burden of proof on all of the elements of a fee

application, including proving that the services provided were necessary and reasonable and that

the billed expenses were necessary, reasonable and actually incurred. Zolfo, Cooper & Co. v.

Sunbeam-Oster Co., 50 F.3d 253, 261 (3d Cir. 1995). The failure of an applicant to sustain the

burden of proof as to the reasonableness of the compensation may result in the denial of the

requested for compensation. See Brake v. Tavormina (In re Beverly Mfg. Co.), 841 F.2d 365,

369 (11th Cir. 1988). Where appropriate, section 330 expressly authorizes this Court to award

less than the amount requested by the fee applicant. See 11 U.S.C. § 330(a)(2). “Interim fee

applications submitted pursuant to Code § 331 … are judged under the same standards as final

applications under Code § 330.” In re Bennett Funding Grp., Inc., 213 B.R. 234, 244 (Bankr.

N.D.N.Y. 1997).

       10.     Professional services are considered “actual and necessary” if they benefit the

estate. In re APW Enclosure Sys., No. 06-11378, 2007 WL 3112414, at *3 (Bankr. D. Del. Oct.

23, 2007). Success is not required, but rather the court “must conduct an objective inquiry based

upon what services a reasonable professional would have performed in the same circumstances.”

In re Channel Master Holdings, Inc., 309 B.R. 855, 861-62 (Bankr. D. Del. 2004) (quoting In re

Cenargo Int’l., PLC 294 B.R. 571 (Bankr. S.D.N.Y. 2003); see also In re Jefsaba, Inc., 172 B.R.

786, 799 (Bankr. E.D. Pa. 1994) (“[S]o long as there was a reasonable chance of success which

outweighed the cost in pursuing the action, the fees relating thereto are compensable.”). The test

of what is necessary cannot be applied in hindsight. If at the time the work is performed, it




                                                 6
             Case 16-10527-MFW         Doc 4266     Filed 09/26/18    Page 7 of 10



reasonably appears that it would benefit the estate, it may be compensated.” In re Berg, No. 05-

39380DWS, 2008 WL 2857959 at *7 (Bankr. E.D. Pa. July 21, 2008); see also Cenargo, 294

B.R. at 595 (when determining what is necessary, courts do not attempt to “invoke perfect

hindsight.”).

                                Fee Examiner’s Recommendations

       11.      The Fee Examiner makes the following specific recommendations:

Gibson, Dunn & Crutcher LLP (Counsel to the Debtors)

       12.      On March 8, 2016, the Debtors filed the Application for an Order Approving the

Employment and Retention of Gibson, Dunn & Crutcher LLP as General Bankruptcy and

Restructuring Co-Counsel for the Debtors and Debtors in Possession Nunc Pro Tunc to the

Petition Date [Dkt. No. 233].

       13.      On March 24, 2016, the Bankruptcy Court entered the Order Authorizing

Employment and Retention of Gibson, Dunn & Crutcher LLP as General Bankruptcy and

Restructuring Co-Counsel for the Debtors and Debtors in Possession Nunc Pro Tunc to the

Petition Date [Dkt. No. 808] (the “Gibson Dunn Employment Order”). Pursuant to the Gibson

Dunn Employment Order, the Debtors were authorized to employ Gibson Dunn as their general

bankruptcy and restructuring co-counsel to render general legal services to the Debtors as needed

throughout the course of the Chapter 11 cases. For its services, Gibson Dunn is compensated on

an hourly basis.




                                                7
             Case 16-10527-MFW        Doc 4266      Filed 09/26/18   Page 8 of 10



       14.    Gibson Dunn filed three (3) monthly fee applications for compensation during the

period covered by the Fee Application as follows:

     Dated Filed/       Period             Requested               Paid or To Be Paid
     Docket No.        Covered         Fees      Expenses          Fees       Expenses
    6/15/2018        5/1/2018 –      $82,687.00   $2,551.04      $66,149.60    $2,551.05
    Dkt. 4151        5/31/2018
    7/27/2018        6/1/2018 –      $21,413.00     $2,060.50    $17,130.40     $2,060.50
    Dkt. 4203        6/30/2018
    9/4/2018         7/1/2018 –      $41,080.00     $2,529.50    $32,864.00     $2,529.50
    Dkt. 4234        7/31/2018
    TOTAL                           $145,180.00     $7,141.04   $116,144.00     $7,141.05

       15.    The Fee Examiner notes and appreciates that Gibson Dunn’s timekeeping was

exceptional and substantially in compliance with the UST Guidelines. Accordingly, the Fee

Examiner recommends allowance of fees in the amount of $145,180.00 and reimbursement of

expenses in the amount of $7,141.04 as requested in the Gibson Dunn Fee Application.

Young Conaway Stargatt & Taylor, LLP (Counsel to the Debtors)

       16.    On March 8, 2016, the Debtors filed their Application for an Order Pursuant to

Section 327(a) of the Bankruptcy Code, Authorizing the Retention and Employment of Young

Conaway Stargatt & Taylor, LLP as General Bankruptcy Co-Counsel to the Debtors Nunc Pro

Tunc to the Petition Date [Dkt. No. 227].

       17.    On March 24, 2016, the Bankruptcy Court entered an Order, Pursuant to Section

327(a) of the Bankruptcy Code, Authorizing the Retention and Employment of Young Conaway

Stargatt &Taylor, LLP as Co-Counsel to the Debtors Nunc Pro Tunc to the Petition Date [Dkt.

No. 809] (the “YCS&T Employment Order”). Pursuant to the YCS&T Employment Order, the

Debtors were authorized to employ YCS&T as co-counsel to the Debtors. For its services,

YCS&T is compensated on an hourly basis.




                                               8
             Case 16-10527-MFW        Doc 4266     Filed 09/26/18     Page 9 of 10



       18.     YCS&T filed three (3) monthly fee applications for compensation and

reimbursement of expenses during the period covered by the Fee Application as follows:

     Dated Filed/       Period            Requested                Paid or To Be Paid
      Docket No.       Covered         Fees     Expenses           Fees       Expenses
     6/20/2018       5/1/2018 –      $14,789.00   $276.83        $11,831.20    $276.83
     Dkt. 4159       5/31/2018
     8/14/2018       6/1/2018 –       $9,448.00      $245.56      $7,558.40     $245.56
     Dkt. 4212       6/30/2018
     9/11/2018       7/1/2018 –       $8,420.00      $104.35      $6,736.00     $104.35
     Dkt. 4283       7/31/2018
     TOTAL                           $32,657.00      $626.74     $26,125.60     $626.74

       19.     The Fee Examiner notes and appreciates that YCS&T’s timekeeping was

exceptional and substantially in compliance with the UST Guidelines and Local Rules.

Accordingly, the Fee Examiner recommends allowance of fees in the amount of $32,657.00 and

reimbursement of expenses in the amount of $626.74 as requested in the YCS&T Fee

Application.

BDO USA, LLP (Financial Advisor to the Committee)

       20.     On April 20, 2016, the Committee filed its Application for an Order Authorizing

the Retention of BDO Consulting as Financial Advisor for the Official Committee of Unsecured

Creditors Effective as of March 13, 2016 [Dkt. No. 1260].

       21.     On May 24, 2016, the Bankruptcy Court entered an Order Authorizing and

Approving the Retention of BDO Consulting as Financial Advisor to the Official Committee of

Unsecured Creditors Effective as of March 10, 2016 [Dkt. No. 2044] (the “BDO Retention

Order”). Pursuant to the BDO Retention Order, the Committee was authorized to employ BDO

as financial advisor to the Committee. For its services, BDO is compensated on an hourly basis.

       22.     BDO filed two (2) applications covering three (3) months for compensation and

reimbursement of expenses during the period covered by the Fee Application as follows:




                                               9
             Case 16-10527-MFW        Doc 4266    Filed 09/26/18     Page 10 of 10



      Dated Filed/       Period           Requested             Paid or To Be Paid
       Docket No.       Covered        Fees     Expenses         Fees      Expenses
      8/3/2018        5/1/2018 –      $3,513.50   $0.00         $2,810.80     $0.00
      Dkt. 4206       6/30/2018
      8/24/2018       7/1/2018        $1,727.00     $0.00       $1,381.60      $0.00
      Dkt. 4227       7/31/2018
      TOTAL                           $5,240.50     $0.00       $4,192.40      $0.00

       23.     The Fee Examiner carefully reviewed BDO’s time entries for compliance with the

UST Guidelines and Local Rules and recommends allowance of fees in the amount of $5,240.50

as requested in the BDO Fee Application as BDO’s timekeeping was exceptional and in

compliance with the UST Guidelines.

Dated: New York, New York
       September 26, 2018
                                           Respectfully Submitted,


                                           ELISE S. FREJKA



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                                           Fee Examiner




                                             10
